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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :                2/20/2018
 JEAN-BAPTISTE MEDA,                                              :
                                              Plaintiff,          :
                                                                  :         17 Civ. 6853 (LGS)
                            -against-                             :
                                                                  :               ORDER
 KOGDA, et al.,                                                   :
                                                                  :
                                              Defendants.         :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on February 20, 2018, a conference was held;

        WHEREAS, at the conference, Defendant Clarisse Kogda withdrew her motion to dismiss in its entirety

(Docket No. 37). For the reasons stated at the conference, it is hereby

        ORDERED that Plaintiff’s deposition of Defendant Clarisse Kogda shall proceed in accordance with

Federal Rule of Civil Procedure 30. It is further

        ORDERED that Plaintiff shall produce to Defendants any relevant immigration records, but may redact

them as necessary to protect Plaintiff’s private personal information. It is further

        ORDERED that Plaintiff shall comply with the Court’s Individual Rules with respect to any motion for

default judgment as to Defendants Der Kogda and Marie-Claire Somda-Kogda. It is further

        ORDERED that if Plaintiff wishes to file a motion to dismiss Defendants’ counterclaims, the parties

shall comply with the briefing schedule in the Order dated December 5, 2017 (Docket No. 24). It is further

        ORDERED that if Plaintiff wishes to file an application or motion regarding Defendants’ counsel’s

alleged personal knowledge of the facts of this case, Plaintiff shall file a pre-motion letter on or before March

6, 2018.

        The Clerk of Court is directed to close the motion at Docket No. 37.

Dated: February 20, 2018
       New York, New York
